                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                 1:07 cr 69-2


UNITED STATES OF AMERICA,                )
                                         )
Vs.                                      )                        ORDER
                                         )
JAMES O. HENDERSON,                      )
                                         )
                  Defendant.             )
________________________________________ )


       THIS CAUSE coming on to be heard before the undersigned, pursuant to a motion

filed by defendant’s counsel on September 25, 2007 entitled “Motion to Reconsider

Detention Order” (#225) and from the evidence offered by the defendant and the evidence

offered by the Government and the arguments of counsel for the defendant and the Assistant

United States Attorney, the undersigned makes the following findings:

       Findings.      On July 30, 2007 a criminal complaint was filed alleging that the

defendant had entered into a conspiracy to commit the offense of operating an illegal

gambling business, money laundering and witness tampering all in violation of Title 18

U.S.C. § 371, 1955, 1512, and 1956. Thereafter, a bill of indictment was filed by the grand

jury on August 2, 2007 presenting charges against the defendant and twenty-one other co-

defendants. In the bill of indictment, the grand jury presented charges against the defendant

for entering into a conspiracy to operate an illegal gambling business, operation of an illegal

gambling business, conspiracy to commit bribery, bribery of a law enforcement officer and

conspiracy to commit money laundering. A detention hearing was held for the defendant on



    Case 1:07-cr-00069-TSE-DLH            Document 250        Filed 10/15/07       Page 1 of 7
August 3, 2007. At that time, the undersigned entered an order detaining the defendant

pending further orders of the court. On August 7, 2007, the undersigned entered a written

Order of Detention (#59) in which the undersigned presented in writing the reasons for the

court’s decision to detain the defendant. The written detention order filed in this matter is

incorporated herein by reference as if fully set forth herein.

       On September 25, 2007 defendant’s counsel filed a motion entitled “Motion to

Reconsider Detention Order” (#225). In the motion, defendant’s counsel sets forth that the

defendant has been completely cooperative with the Government and that the Government

has now taken the position that the defendant did not personally initiate any attempts to

obstruct justice and that the court’s basis for the detention of the defendant no longer exists.

Thomas Boggs, attorney for the defendant, presented a proffer of evidence to the court

wherein Mr. Boggs described that the defendant had been cooperative with the Government

and had given extensive debriefings to the Government. Mr. Boggs further proffered to the

court that the defendant had been an almost life-long resident of Inman, SC and that the

defendant was the owner and operator of not only an amusement business but also a

restaurant. Mr. Boggs further advised the court that the defendant was married and had an

eleven year old minor child who resided with the defendant and his spouse. Mr. Boggs

further advised the court that he had known the defendant for in excess of twenty years and

that the defendant was known to be a person who was very interested in his community and

who had been very generous in helping various persons in his community, including

charities that would benefit minor children.


                                               2
    Case 1:07-cr-00069-TSE-DLH            Document 250           Filed 10/15/07   Page 2 of 7
       Mr. Boggs called as a witness for the defendant the defendant’s spouse.             She

described the defendant as being an excellent husband and father. Mrs. Henderson further

testified that she would be more than willing to act as a third party custodian for the

defendant. Upon examination by the court, Mrs. Henderson testified that she had brought

charges of criminal domestic violence against the defendant in October of 2001 and at her

request, those charges had been dismissed.

       Mr. Boggs further presented on behalf of the defendant, medical records which the

court marked as defendant’s Exhibit “D-1". The undersigned has read and examined those

records and they show that the defendant has a degenerative disk disease at the L3-4 level

and that he has discussed with his treating orthopaedic surgeon either a fusion or a total disk

replacement. Mr. Boggs described to the court that the defendant was in need of care for

his spine problem.

       Richard Edwards, Assistant United States Attorney, advised the court that the

Government, through its investigation, had determined that this defendant was not involved

in obstruction of justice or intimidation of witnesses before the grand jury. Upon questioning

by the court, Mr. Edwards told the court that the Government’s evidence had confirmed that

the defendant had paid a bribe to Sheriff Conner, the High Sheriff of Rutherford County in

December of 2006 so that the defendant and his co-defendant’s could operate an illegal

gambling business in that county with impunity. Unknown to the defendant was the fact that

Sheriff Conner video taped and recorded the meeting and was acting in a totally up-front and

lawful manner and further, was acting in cooperation with the Government at the time of the


                                               3
    Case 1:07-cr-00069-TSE-DLH            Document 250        Filed 10/15/07      Page 3 of 7
offer of and acceptance of the bribe and other bribes that were paid to Sheriff Conner during

the period from December of 2006 until July of 2007. The acts have been further described

in the order (#59) filed by the court on August 7, 2007. Mr. Edwards candidly advised the

court that it was the position of the Government that the defendant should be released upon

stringent terms and conditions of pretrial release.

       Discussion. The charges against the defendant are not those as is described in 18

U.S.C. § 3142(e) for which a presumption of detention applies. The charges against the

defendant are charges that this court considers to be described in 18 U.S.C. § 3142(2)(b) in

that the charges against the defendant reveal acts that would obstruct or attempt to obstruct

justice.

       The undersigned, in making a determination to originally detain the defendant and to

now reconsider that decision, has considered the factors as set forth under 18 U.S.C. §

3142(g). Those factors are as follows:

       1)      The nature and circumstances of the offense charged, including whether
       the offense is a crime of violence, a Federal crime of terrorism, or involves a
       minor victim or a controlled substance, firearm, explosive, or destructive
       devise;

       2)     The weight of the evidence against the person;

       3)     The history and characteristics of the person.

       In applying those factors, the undersigned finds as follows:

       (g)(1) The nature and circumstances of the offense charged do not involve a crime

of violence, a crime of terrorism or involve a minor victim or a controlled substance, firearm,

explosive, or destructive devise.

                                               4
    Case 1:07-cr-00069-TSE-DLH            Document 250         Filed 10/15/07     Page 4 of 7
       (g)(2) The weight of the evidence against the defendant appears to be strong and

significant and, indeed, now appears to be more strong and significant than known to this

court on August 3, 2007. The defendant has given statements in which he has admitted his

involvement in the criminal activities described in the bill of indictment and perhaps even

more criminal activities.

       (g)(3) The court finds that the defendant has family ties, employment, financial

resources and a long length of residence in the Spartanburg and Inman, SC communities.

The defendant is married and his spouse is a reliable person and a person that this court

would consider to be a good custodian for the defendant. The defendant has an eleven year

old son with whom the defendant have and has a strong bond of love and affection. In

regard to the defendant’s criminal history relating to drug or alcohol abuse, the defendant

was convicted on April 14, 1993 in the General Sessions Court in Spartanburg County, SC

of the crime of possession of cocaine with intent to distribute. In addition, the defendant’s

criminal history shows that he was convicted of petty larceny in Magistrate’s Court in

Spartanburg, SC on August 9, 1983; reckless driving in Spartanburg, SC on January 31,

1996. The defendant has appeared at all court proceedings as required. The defendant was

not on probation, parole or other release pending trial when the offenses described in the bill

of indictment occurred.

       In regard to the nature and seriousness of the danger to any person or the community

that would be posed by the defendant’s release, it is still the opinion of the court that there

is a risk of harm or danger to any other person or the community that would be posed by the



                                             5
    Case 1:07-cr-00069-TSE-DLH            Document 250        Filed 10/15/07       Page 5 of 7
defendant’s release. The court considers the office of the High Sheriff in various counties

of North Carolina to be the highest ranked law enforcement official that the citizens of a

county usually encounter. He or she is a person who is expected by the citizens of the county

to honestly, forthrightly and vigorously enforce the criminal laws that protect the citizens of

the county and the various communities located therein. The High Sheriff is relied upon by

the citizens to be an honest and faithful law enforcement officer who has only the protection

of the public as his or her highest goal. The defendant in this case, by the payment of bribes

to Sheriff Conner and also the payment of bribes to other sheriffs whom the defendant

described to Sheriff Conner as being under the influence of the defendant completely

undermines the belief of the citizens of this state in their criminal justice system. To release

this defendant would give him an opportunity, not only to bribe other sheriffs, but other law

enforcement officials and would bring our criminal justice system into disrepute. Further,

this defendant is one of the few defendants in this investigation who has a previous felony

conviction. This defendant has a conviction for felony distribution of cocaine. The evidence

that was presented to the undersigned on August 3, 2007 showed that the defendant paid a

further bribe to Sheriff Conner in an effort to influence the prosecution of a controlled

substance violation that had been charged in Sheriff Conner’s county. Thus, the defendant

was not only attempting to protect his illegal gambling business, he was further attempting

to pervert the criminal justice system in regard to the use and possession of controlled

substances.

       The undersigned has been advised that the defendant is now cooperating with the



                                              6
    Case 1:07-cr-00069-TSE-DLH              Document 250          Filed 10/15/07        Page 6 of 7
Government. If so, the release of the defendant would create a risk of harm to the defendant

himself. Should various High Sheriffs and other law enforcement officers be subject to

prosecution based upon testimony of the defendant, then the defendant’s life would be at risk

due to efforts that might be made to either influence the defendant not to testify or to

preclude his testimony permanently.

       The undersigned has sincerely considered the motion of the defendant and also the

position of the United States Attorney, that being that the defendant should be released on

stringent terms and conditions. However, based upon the above referenced finding, the

undersigned cannot find that there are any terms and conditions of release of the defendant

which would either not create a risk of harm to the community or to the defendant himself.

As a result, the undersigned has determined to enter an order denying the motion of the

defendant.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the defendant’s “Motion to Reconsider

Detention Order” (#225) is hereby DENIED.




                                              Signed: October 14, 2007




                                           7
    Case 1:07-cr-00069-TSE-DLH         Document 250       Filed 10/15/07     Page 7 of 7
